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PETER-R_ DIoN»KINDEM (SBN 95267) k H`°" i“`* E_T-‘j
PETER R. DroN-KJNDEM, P. C.

DloN-KINDEM & CROCI<ETT

21271 Burbank Blvd., Suite 100

   

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Woodrand Hius, Calirorm‘a 91367 mt trw 13 Fi`l 2¢ G?
Telephone: (818) 883-4400 _ ____| mm
Fax: (818)676-0246 1' 511 1111

Attorneys for Plaintiff Barry Rosen

UN`[TED STATES DISTRICT COURT
CENTRAL DIST_RICT OF CALIFORNIA

CVO.7_"_07113 W$ju

GoDaddy.corn, Inc.; and Does 1 through 100,
Defendants.

Plaintiff Ba;rry Rosen (“Plaintift”) al1eges on information and belief:
.]URISDIC'I`ION AND VENUE

1. Jurisdiction. This action arises under the Copyright Act, 17 U.S.C. § 101 et seq. This
Court has original subject matter jurisdiction over all claims pursuant to 28 U.S.C. §§
1331 and 1338(a).

2. Venue. Venue is proper in this Court pursuant to 28 U.S.C. § 1391 (b), (c), and § 1400(a).

3. Persanal Jurisdictian. Personal jurisdiction is proper over the Det`endants because they
either reside in California or the wrongful activity at issue concerns Defendants’
operation of commercial businesses through Which Det`endants knowingly transact
business and enter into contracts With individuals in California, including Within the

County of Los Angeles. Each of the Defendants, therefore, has purposefully availed itself

Complaint
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BarryRosen, _ Case No. _ g FMH
' Plaintit`t`, Complaint for Damages for Violation
_ of Copyright
vs. '
Demand for Jury Trial

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of the privilege of doing business in California, and material elements of Defendants’

wrongdoing occurred in this State.
Plaintif`f is a professional photographer.
The Def`endants designated herein as Does 1 through 100 are presently unknown to
Plaintiff. The true names, identities and capacities, and the respective relationship of the
Doe Def`endants to the known Defendants are presently unknown to Plaintift`, who sues
said Doe Defendants by such fictitious names. The Doe Defendants are believed to be
individuals or entities who are involved in the acts set forth below, either as independent
contractors, suppliers, agents, servants or employees of the known defendants, or through
entering into a conspiracy and agreement with the known Def`endants_to perform these
acts, for personal gain or in furtherance of his or her own financial advantage in violation
of Plaintiff"s rights. Plaintiff` will request leave of Court to amend this Complaint to set
forth their true names, identities and capacities upon ascertaining the same. The Doe -
Def`endants and the known defendants are referred to hereinafter collectively as
Def`endants.
Each of the Doe Def`endants has been or is the principal, officer, director, agent,
employee, representative, and/or co-conspirator of each of` the other Defendants and in
such capacity o`r capacities participated in the acts or conduct alleged herein and incurred
liability therefor. Each of the Doe Defendants engaged in the acts alleged hereinaRer with
the lmowledge, consent, authorization, ratification and approval of each other Defendant.
In taking the actions described below, Def`endants acted for personal gain or in
furtherance of` their own financial advantagel
FIRST CLAIM FOR RELIEF
(C_opyright Infringement - 17 U.S.C. § 101 et seq.
Against Defendant Go])addy.com, Inc. and Does 1 through 100.)

Plaintiff realleges and incorporates herein by reference each and every allegation of

paragraphs 1 through 6 as though fully set forth herein.

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GoDaddy.corn, Inc. (“GoDaddy”)is believed to be an Arizona corporation which owns

and operates the internet website'located at GoDaddy.com. GoDaddy is a website hosting

service, hosting such websites as celebshirts.com, arizonatoucan.corn, celeb»cds.com, and

celebrityphotocds.corn, among others.

Plaintiff created photographs (“Plaintiff Copyrighted Works”). Each of the Plaintiff

Copyrighted Worl<s consists of material original with Plaintiff and each is copyrightable

subject matter.

10. Plaintiff is the owner of all right, title, and interest to each of the Plaintif`f Copyn`ghted

Works. Plaintif`f has registered the copyrights for Plaintiff Copyrighted Works and has

been issued the following United States copyright certificates:

Cog]gr_ight Registmtion No.

Title 0 Work

VA 1-23 0-933 Gena Lee Nolin from Published Works 2000
Pt 1
VA 1-239-752 Anna Kournikova 4
VA 1-239-753 Anna Kourn'_ikova 3
VA 1-239-754 Arma Kournikova 9
VA 1~239-755 Anna Koumil<ova 8
VA 1-239-756 Anna Kournii<ova 6
VA 1-239-757 Anna Kournikova 7
VA 1»239-758 Anna Kournikova 13
VA 1-239-760 Anna Kournikova 14
vA 1-239-761 ma Koumikova 15
VA 1~239-763 Anna Koumikova 11
VA 1-23 9»764 Anna Kournikova 10
VA 1-239-765 Arma Kournikova 12
VA 1-239-767 Anna Kournikova 1
` VA 1-239-770 Anna Kournil<ova 5
VA 1-239-943 Anna Kournil<ova 19
VAu590-412 Kournikova Unpublished
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Case il:O?-cV-O7431-ER-FF|\/| Document 1 Filed 11/13/07 Page 4 of 13 Page |D #:5

VA 1~_230-93"3 Ali Landry from Published Works 2000 Pt 1
2 vA 1-230-935 ' _ sons vergara nom rubinth works 2001 111
3 1 ` .
4 VA 1~230-937 _ Tracy Bingham from Published Works 1991 l
5 111 1 '
6 vAu660-263 7 1411 Landry
7 11. Under Section 106 of the Copyright Act of 1976, 17 U.S.C. § 101 er seq. (the “Copyright
8 Act”), Plaintiff has the distinct, severable, and exclusive rights to, among other things,
9 reproduce, distribute and publicly display Plaintiff Copyrighted Works. (17 U.S.C. §§
10 106(1), (3), and (5).)

11 12. Def`endants, without Plaintiff s permission, consent or authority, made and/or caused to

12_ be made unauthorized copies of the Plaintiff Copyrighted Works. Defendants’ conduct
13 constitutes direct infringement of Plaintiff" s exclusive rights under the Copyright Act to
14 reproduce the Plaintiff Copyright Works.

15 13. l Defendants, without Plaintiff s pennission, consent or authority, publicly displayed

16 and/or facilitated the public display of the Plaintiff Copyrighted Works by showing or
17 ' causing to be shown images of these works on internet websites. Defenda_nts’ conduct
18 constitutes direct infringement of Plaintist exclusive rights under the Copyright Act to
19 publicly display the Plaintiff Copyright Works.

20 14. Defendants’ conduct constitutes infringement of Plaintiff"s copyrights and exclusive

21 rights under copyright in the Plaintiff Copyrighted Works 1n violation of Sections 106 and
22 ' 501 ofthe Copyright Act, 17 U.s.c_ §§ 106 and 501. _

l 23 15. 7 Users of Defendants’ websites have infringed and are infringing Plaintiff" s rights in the
24 Plaintiff Copyrighted Works by, inter alia, uploading infringing copies of the Plaintiff
25 Copyrighted Works onto such users’ websites and publicly displaying and distributing or
26 purporting to authorize the distribution of infringing copies of the Plaintiff Cop§,uighted
27 Worl<s. Such users are therefore directly infringing Plaintiff’s exclusive rights of
28 reproduction, distribution and public display under 17 U.S.C. sections 106(1), (3) and (5).

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Defendants have engaged and continue to engage in the business of knowingly and
systematically inducing, causing, and/or materially contributing to the unauthorized
reproduction, public display, and/or distribution of copies of the Plaintiff Copyrighted
Works by users of Defendants’ websites and thus to the direct infringement of the
Plaintiff Copyrighted Works.

Defendants enable, induce, facilitate, and materially contribute to each act of
infringement by infringing users. Defendants’ conduct constitutes contributory
inn'ingement of Plaintiff"s copyrights and exclusive rights under copyright in the Plaintiff
Copyrighted Works in violation of Sections 106 and 501 of the Copyright Act, 17 U.S.C.
sections 106 and 501.

Defendants have, and have had, the right and ability to supervise and/ or control the
infringing conduct alleged above, including by terminating links to such websites, but
have failed and refused to exercise such supervision and/or control. As a direct and
proximate result of such failure and rehisal, Defendants and infiinging users have
infringed Plaintiffs’ copyrights in the Plaintiff Copyrighted Works, as set forth above.
Defendants have derived a direct_financial benefit nom fees charged to users and from the
increased traffic to Def`endants’ websites resulting from the “draw” of the Plaintiff
Copyrighted Works.

Defendants’ conduct constitutes vicarious infringement of Plaintiff s copyrights and
exclusive rights under copyright in the Plaintiff Copyrighted Works in violation of
Sectionsl106 and 501 ofthe Copyright Act, 17 U.S.C. §§ 106 and 501. _
The infringement of Plaintiff’s rights in and to each of the Plaintiff Copyrighted Works
constitutes a separate and distinct act of infringement

Defendants’ acts of infringement have been willful, intentional, and purposeful, in -
reckless disregard of and with indifference to Plaintiff" s rights.

As a direct and proximate result of the inh~ingements by Defendants of Plaintiff’ s

copyrights and exclusive rights under copyright in the Plaintiff Copyrighted Works,

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Plaintiff is entitled to its actual damages and Defendants’ profits pursuant to 17 U.S.C.
section 504(b).

Alternatively, at Plaintiffs election, Plaintiff is entitled to the maximum statutory
damages pursuant to 17 U.S.C. section 504©) with respect to each work infringed or such
other amounts as may be proper under 17 U.S.C. section 504©).

Defendants’ conduct is causing and, unless enjoined and restrained by this Court, will

continue to cause, Plaintiff great and irreparable injury that cannot fully be compensated

' in money. Plaintiff has no adequate remedy at law. Pursuant to 17 U.S.C. section 502,

Plaintiff is entitled to injunctive relief prohibiting further infringements of Plaintiff’s _
copyrights
Plaintiff further is entitled to Plaintiff' s attorneys’ fees and costs pursuant to 17 U.S.C.
section 505.

PRAYER FOR RELIEF
WHEREFORE, Plaintiff prays for judgment against Defendants and each of the Doe

Def`endants as follows:

l.

That Defendants, their officers, agents, servants, employees, representatives, successors,
and assigns, and all persons in active concert or participation with them, be enjoined
f`rom:
A. copying, reproducing, distributing, adapting, or publicly displaying the Plaintiff
Copyrighted Works; l
- posting Plaintiff copyrighted photographs on the internet;

inducing, causing, materially contributing `to, and profiting from the foregoing acts

committed by others.

That Defendants be ordered to destroy all photographs, documents, and other items,

electronic-or otherwise, in its possession, custody, or control, that infringe the copyrights

of Plaintiff.

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3. That Defendants be ordered to remove all links between their website and all websites
that display or offer to distribute or copy authorized copies of Plaintiff Protected Works

and be prohibited from performing advertising and linking functions for such websites.

4. For restitution in the amount of the benefit to Defendants by reason of their unlawful
conduct.

5. v For Plaintiff’s actual damages

6. _ For an full accounting under supervision of this Court of all profits, income, receipts, or

other benents derived by Defend_arrts as a result of their unlawful conduct
7. For statutory damages under the Copyright Act.
8. For prejudgment interest
9. For attomeys’ fees and full costs. v
10. For such other and further relief as this Court deems just and appropriate

Dated: November 12, 2007 DroN-KJNDEM & CROCKETT

ss all

/
PETER R. DroN-KFNDEM, P'.C.
PETER R. DloN-KINDEM,
Attomeys for Plaintiff Barry Rosen

    

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Dated: November 12, 2007 DroN-Kn\inEM & CRocKET'r

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PE ran R. DioN-KrNr)Er\/l; P.C.
PETER R. DroN-KINDEM,
Attorneys for Plaintiff Barry Rosen

 

 

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C_ase 22:07-cv-O7431-ER-FFI\/| Document 1 Filed 11/13/07 Page 9 of 13 Page |D #:10'

1 _ PROOF OF SERVICE
2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
_ 3 l l am employed in the county of Los Angeles, State of California. l am over the age of 18
and not a party to the within action. My business address is 21271 Burbank Blvd., Suite 100
4 ' Woodland l-Iills, CA 91367.
5 _ On November 16, 2007 l served the following doculnent(s) described as
6 Summons, Complaint, Notice of Assignment.
7 _
on interested parties in this action an original or true copy thereof enclosed in a sealed envelope
8 addressed as follows:
_ _9. See Attachment _
10 '
STATE
1 1 ' _ _ _
l:| . (By FAX) Itransmitted, via facsimile, said documents to the telecopier numbers listed
- 12 herein.
@/ (By Mail) 1 deposited such envelope with postage thereon fully prepaid in the United
13 States mail at a facility regularly maintained by the United States Postal Service at Los

Angeles, California.
14. |:] (By Mail) l am readily familiar with my firm’s or other business’ practice for the
collection and processing of correspondence for mailing with the United States Postal

15 Service. ln the ordinary course of business, correspondence would be deposited with the
United States Postal Service that same day. l placed true copies of the above entitled
16 document in envelopes addressed as shown above and sealed and placed them for
- collection and mailing on the date stated below, following ordinary business practices
17 1:| (BY PERSONAL SERVICE) |:l By Personally delivering copies to the
_ person served
18 ' |:l l delivered such envelope by hand to the
' offices of the addressee pursuant to
19 CCP§ 101 l.
20

I declare under penalty of perjury under the laws of the State of California that the above
21 is true and correct. _

 

   

 

22 - Executed on November 16, 2007 at We dl'and l-Iills, California.
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Proof of Service

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David Kramer
Tait Graves
Bart E. Volkmer

650 Page Mill Road
Palo Alto, CA 94304

Wilson Sonsini Goodrich & Rosati

Attachment to Proof of Service

Attorneysfor Defendanr and
Counrerclaimam‘ GODADDY. COM, Inc
T el .' 65 0~493-93 00

Fax.' 65 0-565-51 00

 

 

Proof of Service

 

Case 2:07-cv-O7431-ER-FFI\/|` `Document 1 Filed 1`1/13/07 Page 11 of 13 Page |D #:12

Peter R. Dion-Kindern§`(=.`BN 95 267)
Peter R. Dion-Kindem, P. C.

21271 Burbank Brva., suite 100
Woodland I-lills, California 91367
Telephone: (818) 883-4400

Fax: (818) 676-02_46

UNI'I`E]) STA'I`ES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Barry Rosen CASE NUMBER

V' PLAINTIFF($) 1 cv 0 7 _ 07 4 3 1 BD? (Flrfi'l»i')

GoDaddy.com, lnc.', and Does l through 100 '

 

SUMMONS
DEFENDANr(s).

 

 

TO: THE ABOVE-NAMED DEFENDANT(S):

YOU ARB HEREBY SUMMONED and required to file with this court and serve upon plaintiffs attorney
Pcter R Dion-Kindem Whose address ls-

21271 Burbank Blvd., Suite 100
'Woodland Hills, California 91367

- an answer to the complaint |:l amended complaint |:| counterclaim |:| cross-claim
which is herewith served upon you within 20 days after service of this Sunrmons upon you, exclusive

of the day of service. If you fail to do so, judgement by default will be taken against you for the relief
demanded in the complaintl

 

 

Clerk,U.S.District Court ` m
litton sands aw%‘®% l '
Dated: NOV 13 2007 By: f j
Deputy Clerk
(Seal of the Court)

 

CV-O lA {01/'01) SUMMONS

Case 2:07'€\/'07171§1]§)51%1:14:1[\§8 lii§)lcrllrdlfEhlln'lziiencivil"rihllsgri?grnii):eiqiericZI?ich)i%iNI§age |D #:13`

 

CIVIL COVER SI'[EE'I`
I (a) PLAINTIFFS (Check box if you are representing yourself l:l) DEFENDAN'I`S
Barry Rosen GoDaddy.com, Inc.; and Does l through 100
(b) County of Residence ofFirst Listed Plaintifl`(Except in U.S. Plaintift`Cases): County of Residence of First` Listed Defendant (In U.S. PlaintiffCases Only):

Los` Angeles

 

(c) Attorneys (Firm Name, Address and Telephone Number. lfyou are representing Attomeys (lf Known)
yourscll", provide same.)

 

 

 

Peter R. Dion-Kindem, Dion-Kindem & Crockett Ta_if GF&V€S _ _ _

21271 Burbank B{vd_, Sujte 100 erson Sonsini Goodnch & Rosatr

Woodland Hills, California 91367 650 Page Mill Road

Terephone: (313) 3334400 Palo Alfo, CA 94304
lI. BASIS OF JI|R.ISDICTION (Place an X in one box only.) lIII. CITIZENSH]P OF PRINCIPAL PAR'I'IES - For Diversity Cases Only

7 (Place an X in one box_ for plaintiff and one for defendant.)
t:l 1 us. comment Plaintiff 131’3 return Qua¢uon (u.s. Prr Dnr PTF DEF
' Govermnent Not a Party) Citizen of This State _ l:l l E| l Incorporated or Principal Place |:] 4 |I| 4
_ of Business in this State
\:I 2 U.S. Govemment Defendant 111 4 Diversity (lndicate Citizenship Citizen ofAnotlrer State C| 2 |I| 2 incorporated and Principal Place l:| 5 l:| 5
_ of Parties in Item lll) ofBusiness in Another State
Citizen or Subject of a Foreign Country C| 3 E|_ 3 Foreign Nation l:l 6 |:l 6

 

IV. ORIG[N (Place an X in one box only.)

L`i(l Original |:l 2 Removed fiorn \:l 3 Remanded from C| 4 Reinstated or l:| 5 Transferred from another district (specit'y): 13 6 Multi- E 7 Appeal to District
Proceeding State Court Appellatc Court -Reopened District Iudge from

_ Litigation Magistrate Judge

V. REQUESTED IN COM`PLA!NT: JU'RY DEl\'IAND: MYES U No (Checlc ‘Yes’ only if demanded in complaint.)

CLASS ACTION under F.R.C.P. 23: |:1 Yes [l No l:l MONEY DEMANDED IN COM'PLAINT: $

VI. CAUSE OF ACTION (Cite` the U.S. Civil Statute under which you are filing and write a brief statement ofcause. Do not cite jurisdictional statutes unless diversity.)
violation ofcopyright; Copyright Act, 17 USC § 101 et seq.

 

 

V.[[. NATURE OF SU!T (Place an X io one box only.)

 
            

   

    

 

   
     
       
       

   

 

 

I;l 400 State Reapportionment |:| 110 lnsura.nce _ _"‘?8":{%`,_ _ __M bo

|'_1410 Antitrust |:| 120 Marine |] 310 Airplane _ 510 Motrons to Act

l:| 430 Ba.nks and Banking |:| 130 Miller Act U 315 Airplane Product l:l 370 Other Fraud Vacate Sentence I] 720 Lab_orfMgmt.

l:l 450 Commerce/ICC |:l 140 Negou'ahle lnstrument Liability El 37| Truth in Lending Habea.s Corpus Relations
Ratesfetc. § 150 Recovery cf |] 320 Assault, Libel & l:l 380 Otl:rer Personal |3 530 Genernl El 730 labor/Mgmt.

[_l 460 Deportation Overpayment & _ Slander Property Damage |] 535 Death Penalty Reporting &

|:| 470 Racketeer Influenced Enforcement of 13 330 Fed. Employers' |:l 385 Propert`y Damage |:i 540 Mandarnus." Disclosure Act
and Corrupt Judgrnent Liability Product Liabili Other l:] 740 Railway labor Act
Organizations I:| 151 Medicare Act 13 340 Marine Civil Rights l:| 790 Other labor

l:l 480 Consumer Credit - |._J 152 Recovery of Defaulted l:l 345 Marine Product I:l 422 Appeal 28 USC ' ` ` Litigation

ij 490 Cable/Sat TV Student loan (Excl. Liability ' 158 l:l 791 Empl. Ret. Inc.

l] 810 Sefective Service ' Veter'ans) [l 350 Motor Vehicle El 423 Withdrawa128 Securi Act

1:| 850 Securities/Commodities |:l 153 Recovery of |:l 355 Motcr Vehicle USC 157 \:| 610 Agrrculture
/Exchange Overpaymeut of Product Liability Other Food &. 820 Copyrights

C| 875 Custonier Challenge 12 Veteran’s Benelits |:| 360 Other Personal |:| 44| Voting Drug il 830 Patent
USC 3410 l:| 160 Stockholders’ Suits lnjury |:I 442 Ernployment l:] 625 Drug Related EI 840 T d k

111 890 Other Statutory Actions |:| 190 Other Contra`ct |:| 362 Personal [njury- |:| 443 Ho_using/Accu- Seizure of

|:1 891 Agricultural Act l:l 195 Contract Product Med Malpractice mmodations Property 21 USC |:| 861 HIA (13951`1)

|:l 892 Bcononiic Stabilization Liability l:l 365 Personal ln_iury- |'_`| 444 Welfare 881 - El 862 Black I_,ung (923)
Act |:l 196 Franchise ' Product Liability |:| 445 Anrerican with |:l 630 Liquor laws l:l 863 DIWC/DIWW

ij 893 Environmental Matters

 

368 Asbestos Personal Disabilities - |:l 640 R.R. & Truck (405(§))

 

   
 

 

l:| 894 Energy Allocation Act 13 210 Land Condernnatrou injury Product En_iployment l:l 650 Airline Regs l:| 864 SSlD Title XVI

l:.l 895 Freedom oflnfo. Act l`_`l 220 Foreclcsure Liability ij 446 American with |:l 660 Occupational |:| 865 RSI (405( ))

13 900 Appeal office Determi~ |:| 230 Rent Lease & Ejectment Disabilities - Safety ."Health
nation Under Equal |`_`| 240 Torts to Land _ Other ll 690 Other |:l 870 Taxes (U.S. Plaintiff
Access to Justice |:| 245 Tort Product Liability Cl 440 Other Civil or Defendant)

E| 950 Constitutionality of |:l 290 Al\ Ot’ner Real Property ,Rights |:i 871 lRS-'l`hird Party 26
State Statutes USC 7609

 

 

 

 

V,(II(a). IDENTICAL CASES: Has this action been previously filed and dismissed remanded or closed? Cl No |I/Yes
It`yes, list case uumber(s): this claim was severed from case no. 07-cv-03475 ER (FFMx)
FOR OFFICE USE ONLY: Case Nurnber:

 

 

CV-7l (07:'05) CIV'IL COVER SHEET Page l of 2

case 2:Or-Cv-Omrasnrn momaskrnrransnrmantenna 'D #114

CIVIL COVER SHEET
AF'I`ER COMPLETINC THE FRONT SIDE OF FORM CV-Tl, COMPLETE THE. INFORMATION REQUESTED BELOW.

VIII(b). RELATED CASES: Have any cases been previously filed that are related to the present case? Cl No E’Yes
if yes, list case number(s): 07'CV'03475 ER (FFMX)

Civil cases are deemed related if a previously filed case and the present case:
(Check all boxes that appiy) MA. A.rise from the same or closely related transactions, happenings, or events; or
1113 Cali for determination of the same or substantially related or similar questions of_` law and fact; or
lYC. For other reasons would entail substantial duplication of labor if heard by different judges; or
|I(D. lnvolve the same patent, trademark or copyright, ap_c_l_ one of the factors identified above in a, b or c also is presentl

 

l'X. VENUE: List the Calif`omia County, or State if other than California, in which EACH named plaintiff resides (Use an additional sheet if necessary)
ij Check here if` the U.S. government, its agencies or employees is a named plaintiffl
Los Angeles

List the California Cuunty, or State if other than California, in which EACH named defendant resides. (Use an additional sheet if necessary).
l:| Checlr here if the U.S. government its agencies or employees is a named defendant
Arizona

List the California County, or State if other than California, in which EACH claim arose. (Use an additional sheet if necessary)

Note: In land condemnation cases, use the location of the tract of land involved
Los Angeles

v
§§ _ _ m t t\
/l¢d'\,`U<l/“M/ m l 1[/[ 211/ib 7'
Notice to Couusel.'Parties: The CV-7 l (JS-44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and servi of pleadings n

or.other papers as required by law. This form, approved by the J udicial Conference of the United States in September 1974, is required pursuant to Local Rch 3-1 is not

filed but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructionsl see separate instructions
sheet.)

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Key to Statistical codes relating to Sociaf Security Cases:

Nature of Suit Code Abbreviation Substantive Staterneut of Cause of Action

861 HlA All claims for health insurance benefits (Medicare) under Titfe 18, Part A, of the Social Security Act, as amended

-Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program. (42 U.S.C. l935FF(b))

862 BL All claims for “Black Lung” benefits under 'l`itle 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.
(30 U.S.C. 923) ` -

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Sccurity Act, as
amended; plus all claims filed for child's insurance benefits based on disabilityl (42 U.S.C. 405(§))

863 n DIWW All` claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended (42 U.S.C. 405(§)) _

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social
Security Act, as amended .
865 RSI ' All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended (42

U.s.c. tg))

 

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